Case 0:16-cv-62942-WPD Document 247 Entered on FLSD Docket 06/14/2018 Page 1 of 11




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                            Case No. 16-62942-Civ-DIMITROULEAS

   KERRY ROTH, on behalf of herself and
   all others similarly situated,

                Plaintiff,

        vs.
   GEICO GENERAL INSURANCE
   COMPANY,

                 Defendant.




        ORDER GRANTING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT;
           DENYING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

          THIS CAUSE is before the Court upon Plaintiff Kerry Roth (“Roth” or “Plaintiff”)’s

   Motion for Summary Judgment [DE 152] and Defendant GEICO General Insurance Company

   (“GEICO” or “Defendant”)’s Motion for Summary Judgment [DE 151], both filed on April 20,

   2018. The Court has carefully considered the Motions [DE’s 151, 152], the Responses [DE’s

   171, 172], and the Replies [DE’s 188, 190], argument by counsel at the hearing on June 8, 2018,

   and the record herein. The Court is otherwise fully advised in the premises.


          I.      BACKGROUND:

          This case arises out of GEICO’s alleged failure to pay state and local sales tax and title

   transfer fees in the settlement of total loss claims on leased vehicles.

          Plaintiff Roth filed a putative state court class action against Defendant GEICO and

   related entities in Florida state court on August 30, 2016, which she replaced on November 8,

                                                     1
Case 0:16-cv-62942-WPD Document 247 Entered on FLSD Docket 06/14/2018 Page 2 of 11




   2016 with an Amended Class Action Complaint, and which she replaced on November 16, 2016

   with a Second Amended Class Action Complaint. See [DE 1-2] at pp. 85-115. The Second

   Amended Complaint alleged two counts: Count I for breach of contract, and Count II for

   declaratory relief. Defendants removed the case to federal court on December 14, 2016,

   pursuant to the Class Action Fairness Act of 2005 (“CAFA”). See 28 U.S.C. §§ 1332(d), 1453.

           On January 24, 2017, the Court entered an Order Granting Defendants’ Partial Motion to

   Dismiss Plaintiff’s Class Action Complaint. See [DE 14]. Therein, the Court dismissed all

   Defendants other than GEICO General Insurance Company for lack of standing, as Plaintiff

   alleged no contract with any other Defendant. See id. The Court also dismissed Count II for

   declaratory relief. See id.

           Accordingly, Plaintiff is proceeding on her breach of contract claim, as set forth in Count

   I of the Second Amended Complaint, alleging that GEICO does not include sales tax or title

   transfer fees in its Actual Cash Value payments made to insureds in settlement of total loss

   claims, in violation of GEICO’s policy language.

           On May 4, 2018, the Court entered an Order Granting Plaintiff’s Motion for Class

   Certification. See [DE 165]. On May 18, 2018, the Court approved the form and manner of class

   notice. See [DE 211]. Plaintiff provided notice to the class by before June 1, 2018, and requests

   to exclude must be postmarked no later than July 2, 2018. See [DE 234].

           Both sides now move for summary judgment in this action. In conjunction with the

   instant summary judgment motions, the parties have provided in their respective Statements of

   Material Facts and responses thereto [DE 151-1; DE 183; DE 188-1; DE 153; DE 171-1; DE




                                                    2
Case 0:16-cv-62942-WPD Document 247 Entered on FLSD Docket 06/14/2018 Page 3 of 11




   191] 1 various factual assertions that are supported by the record. In some instances, the parties

   have not contested their adversaries’ assertions. The Court will deem any uncontested factual

   assertions supported by the record to be admitted. See S.D. Fla. L.R. 56.1(b); Fed. R. Civ. P.

   56(c), (e).

           II.      LEGAL STANDARD

           Under Rule 56(a) of the Federal Rules of Civil Procedure, “[t]he court shall grant

   summary judgment if the movant shows that there is no genuine dispute as to any material fact

   and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The movant

   bears “the stringent burden of establishing the absence of a genuine issue of material fact.”

   Suave v. Lamberti, 597 F. Supp. 2d 1312, 1315 (S.D. Fla. 2008) (citing Celotex Corp. v. Catrett,

   477 U.S. 317, 323 (1986)).

           The movant “bears the initial responsibility of informing the district court of the basis for

   its motion, and identifying those portions of [the record] which it believes demonstrate the

   absence of a genuine issue of material fact.” Celotex Corp., 477 U.S. at 323. To discharge this

   burden, the movant must point out to the Court that there is an absence of evidence to support the

   nonmoving party’s case. Id. at 325. After the movant has met its burden under Rule 56(c), the

   burden of production shifts, and the nonmoving party “must do more than simply show that there

   is some metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co. v. Zenith

   Radio Corp., 475 U.S. 574, 586 (1986). The non-moving party must come forward with

   “specific facts showing a genuine issue for trial.” Matsushita, 475 U.S. at 587.


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    The parties’ Statements of Material Facts and responses thereto [DE 151-1; DE 183; DE 188-1; DE 153; DE 171-1;
   DE 191] include various citations to specific portions of the record. Any citations herein to the Statements of
   Material and responses should be construed as incorporating those citations to the record.

                                                         3
Case 0:16-cv-62942-WPD Document 247 Entered on FLSD Docket 06/14/2018 Page 4 of 11




           “A fact [or issue] is material for the purposes of summary judgment only if it might

   affect the outcome of the suit under the governing law.” Kerr v. McDonald’s Corp., 427 F.3d

   947, 951 (11th Cir. 2005) (internal quotations omitted). Furthermore, “[a]n issue [of material

   fact] is not ‘genuine’ if it is unsupported by the evidence or is created by evidence that is ‘merely

   colorable’ or ‘not significantly probative.’” Flamingo S. Beach I Condo. Ass’n, Inc. v. Selective

   Ins. Co. of Southeast, 492 F. App’x 16, 26 (11th Cir. 2013) (quoting Anderson v. Liberty Lobby,

   Inc., 477 U.S. 242, 249–50 (1986)). “A mere scintilla of evidence in support of the nonmoving

   party’s position is insufficient to defeat a motion for summary judgment; there must be evidence

   from which a jury could reasonably find for the non-moving party.” Id. at 26-27 (citing

   Anderson, 477 U.S. at 252). Accordingly, if the moving party shows “that, on all the essential

   elements of its case on which it bears the burden of proof at trial, no reasonable jury could find

   for the nonmoving party” then “it is entitled to summary judgment unless the nonmoving party,

   in response, comes forward with significant, probative evidence demonstrating the existence of a

   triable issue of fact.” Rich v. Sec’y, Fla. Dept. of Corr., 716 F.3d 525, 530 (11th Cir. 2013)

   (citation omitted).

          III.    DISCUSSION

          On May 14, 2015, Plaintiff Roth entered into a lease agreement for an Audi A3. See [DE

   152-19]. Plaintiff’s leased vehicle was insured by Defendant GEICO’s private passenger auto

   policy (the “Policy”). In June 2016, Plaintiff damaged her vehicle in an automobile accident,

   and she sought to recover under her GEICO Policy. Plaintiff submitted a claim for physical

   damage to her vehicle, and GEICO determined Plaintiff’s vehicle to be a total loss.




                                                    4
Case 0:16-cv-62942-WPD Document 247 Entered on FLSD Docket 06/14/2018 Page 5 of 11




          The issue in this case is whether Plaintiff is entitled to sales tax and title transfer fees in

   addition to what Defendant paid her for the value of her total loss leased vehicle. Plaintiff seeks

   sales tax damages in the amount of tax she would incur if she were to buy her vehicle and title

   transfer fee damages in the minimum amount owed for the purchase of an owned vehicle

   ($75.25).

          Defendant argues in its summary judgment motion that GEICO is entitled to summary

   judgment in its favor because GEICO’s insurance policy and Florida law are clear that neither

   sales tax or title transfer fees are covered and therefore Plaintiff cannot demonstrate a breach of

   contract or damages. In contrast, Plaintiff argues in her summary judgment motion that she is

   entitled to summary judgment in her favor because GEICO violated the Policy terms and well-

   settled Florida law by refusing to pay all replacement costs – specifically, sales tax and title

   transfer fees –necessary to replace the total loss vehicle. For the reasons set forth below, the

   Court agrees with Plaintiff and will therefore grant Plaintiff’s summary judgment motion and

   deny Defendant’s summary judgment motion.

          Under Florida law, to prevail in an action for breach of contract, the plaintiff must prove:

   (1) a valid contract; (2) a material breach; and (3) damages. Beck v. Lazard Freres & Co., LLC,

   175 F.3d 913, 914 (11th Cir. 1999) (citing Abruzzo v. Haller, 603 So. 2d 1338, 1340 (Fla. Dist.

   Ct. App. 1992)). Additionally, Florida law requires that the Court begin with interpreting the

   insurance policy with the plain meaning of the policy, and that any ambiguities in the policy

   shall be construed against the insurer and in favor of the insured and coverage. See, e.g., Altman

   Contractors, Inc. v. Crum & Forster Specialty Ins. Co., 832 F.3d 1318, 1322 (11th Cir. 2016);




                                                      5
Case 0:16-cv-62942-WPD Document 247 Entered on FLSD Docket 06/14/2018 Page 6 of 11




   Prudential Prop. & Cas. Ins. Co. v. Swindal, 622 So.2d 467, 470 (Fla. 1993). Keeping these

   legal standards in mind, the Court turns to the language of the Policy at issue.

           The relevant section of the Policy is “Section III – PHYSICAL DAMAGE

   COVERAGES,” subtitled “Your Protection For Loss Or Damage To Your Car,” which

   protected Plaintiff against loss or damage to her Vehicle at the time of the Accident. See [DE

   153-1] at 13. Damage to Plaintiff’s Vehicle associated with the Accident was covered under the

   “Collision” provision of Section III. Pursuant to this provision, GEICO is responsible for paying

   “collision loss to the owned auto for the amount of each loss less the applicable deductible.” The

   Policy defines a “Loss” as “direct and accidental loss of or damage to: (a) An owned or non-

   owned auto, including its equipment.” Id. at 14. In the event of a loss, the Policy provides that

   the limit of GEICO’s liability for the loss:

           1.     is the actual cash value of the property at the time of the loss.

           2.     Will not exceed the prevailing competitive price to repair or replace the property
                  at the time of loss, . . . with other of like kind and quality and will not include
                  compensation for any diminution of value that is claimed to result from the loss.

                                                 ***
                  Actual cash value or betterment of property will be determined at the time of
                  the loss and will include an adjustment for depreciation/betterment and for the
                  physical condition of the property.
   Id. at 15.

           The term “actual cash value” (hereinafter, sometimes abbreviated by the Court as

   “ACV”) is defined in the Policy as “the replacement cost of the auto or property less depreciation

   or betterment.” Id. at 13. Importantly for the Court’s analysis herein, the Policy does not

   distinguish between the ACV and replacement costs for owned, financed, or leased vehicles, and

   provides no notice to GEICO’s insureds that their leased vehicles will be valued differently


                                                    6
Case 0:16-cv-62942-WPD Document 247 Entered on FLSD Docket 06/14/2018 Page 7 of 11




   based on whether they were leased. Rather, the Policy provides notice of just the opposite: the

   Policy defines owned, financed, and leased vehicles to all be considered “owned autos” under the

   Policy. There are no separate provisions in the Policy that apply to owned vehicles only,

   financed vehicles only, or leased vehicles only. Additionally, GEICO charges its insureds the

   same premiums under the Policy for owned, financed, and leased vehicles. Furthermore, nothing

   in the Policy requires a leased vehicle insured to replace their total loss vehicle with another

   leased vehicle, or even to replace her total loss with any vehicle at all. 2

            Plaintiff asserts that sales tax and title transfer fees are mandatory, necessarily included in

   the replacement costs of a total loss vehicle, and therefore are components of actual cash value

   under the Policy. The Court agrees. Sales tax and title transfer fees are mandatory fees imposed

   by Florida law on the replacement of all vehicles. See Fla. Stat. § 212.05 (sales tax); § 319.34

   (title transfer fee). 3 Further, settled law in the Eleventh Circuit, applying Florida law, is that

   when an insurer provides an actual cash value insurance policy covering the cost to repair or

   replace damaged insured property, it must pay all of the costs that are included in the cost of

   replacement or repair of the property. See Mills v. Foremost Ins. Co., 511 F.3d 1300, 1305 (11th

   Cir. 2008) (“[T]axes are not unambiguously excluded from actual cash value coverage. . . [p]art

   of ‘the cost’ of new materials is the taxes paid to purchase those materials”).

            In the summary judgment decision in Bastian v. United Services Automobile Assn., 150

   F. Supp. 3d 1284, 1290 (M.D. Fla. 2015) in favor of the plaintiffs insureds and against defendant

   insurance company, the district court agreed “with the Eleventh Circuit’s easily-reached



   2 In fact, many leased vehicle insureds replaced their total loss with an owned vehicle.
   3 The title transfer fee for purchasing a replacement vehicle is a minimum of $75.25. The title transfer fee for
   leasing a replacement vehicle is a minimum of $54.25.
                                                             7
Case 0:16-cv-62942-WPD Document 247 Entered on FLSD Docket 06/14/2018 Page 8 of 11




   conclusion [in Mills] that state and local taxes are part of the cost of replacing an item.” 4 While

   Defendant is correct that Bastian is distinguishable as it involved owned vehicles being replaced

   with owned vehicles, whereas Plaintiff Roth’s vehicle was a leased vehicle and she replaced it

   with a leased vehicle, the Court finds Bastian to be persuasive here. In Bastian, USAA’s

   insurance policy defined “[a]ctual cash value” as “the amount it would cost, at the time of loss,

   to buy a comparable vehicle. As applied to your covered auto, a comparable vehicle is one of the

   same make, model, model year, body type, and options with substantially similar mileage and

   physical condition.” Bastian, 150 F. Supp. 3d at 1289. Here, GEICO’s Policy defines actual

   cash value as “the replacement cost of the auto or property less depreciation or betterment.” [DE

   153-1] at 13. The relevant policy language at issue in the two cases is comparable in meaning

   and application.

           The plain language of the Policy explicitly treats all vehicles as “owned.” Moreover, for

   purposes of ACV and replacement cost under the Policy, the replacement costs for both owned

   and leased vehicles is based on the price to purchase a replacement vehicle (i.e, “the prevailing

   competitive price to repair or replace the property . . . with other of like kind and quality.”).

   Plaintiff submits GEICO’s two Market Valuation Reports for Plaintiff Roth’s vehicle. Compare

   [DE 152-9] with [DE 152-11]. The first Market Valuation Report was created before GEICO

   realized that Plaintiff’s vehicle was a lease. The first report valued Plaintiff’s vehicle at

   $23,947.00 and added sales tax in the amount of 6% of that valuation, an amount of $1,436.82.

   [DE 152-11]. After determining that Plaintiff’s vehicle was a lease, Defendant created a second

   report, in which it kept the vehicle valuation exactly the same ($23,947.00) -- with the sole

   4 Further, a policy’s failure to address limitations on the payment of sales tax must be construed in favor of the
   insured. See Bastian, 150 F. Supp 3d at 1295 (“At best, the Policy says nothing on the topic, which the Court should
   construe in favor of the insured.”); see also Mills, 511 F.3d at 1305.
                                                            8
Case 0:16-cv-62942-WPD Document 247 Entered on FLSD Docket 06/14/2018 Page 9 of 11




   exception that it excluded the 6% sales tax. Thus, pursuant to the Policy, Defendant pays on

   leased vehicle total loss claim based on the market value on the date of the loss to purchase a

   replacement vehicle of the same make, model, and condition, not the cost to lease a replacement

   vehicle. As explained supra, the cost to purchase a replacement vehicle includes all costs

   necessarily included in the replacement costs of a total loss vehicle Mills and Bastian.

   Accordingly, as sales tax and title transfer fees are mandatory, necessarily included in the

   replacement costs of a total loss vehicle, the Court concludes that they are components of actual

   cash value under the Policy and are therefore due to be paid to the insured under the Policy,

   regardless of whether the vehicle is owned, financed, or leased. 5 Therefore, GEICO’s failure to

   pay leased vehicle total loss insureds sale tax in the amount of 6% of the value of the vehicle

   (plus any local taxes) and title transfer fees in the amount of $75.25 constitutes a material breach

   of contract.

            While GEICO complies with its Policy provisions (and the mandates of Mills and

   Bastian) by paying sales tax of a minimum of 6% of the total loss vehicle value on vehicles that

   are owned outright or financed by the insured, GEICO violates its Policy provisions (and the

   mandates of Mills and Bastian) by refusing to pay full sales taxes on leased vehicles. 6 Further,

   regarding title transfer fees owed under the Policy, GEICO does not pay title transfer fees on any

   total loss vehicles, regardless of whether the total loss vehicle is leased, owned, or financed, in

   violation of the Policy provisions defining all vehicles as owned vehicles and requiring payment



   5 GEICO’s reliance on Fla. Stat § 626.9743(9) is unavailing, as that statute cannot limit coverage to less than what is
   provided for in the Policy. See, e.g., Bastian, 150 F. Supp 3d at 1295.
   6 GEICO’s admitted practice of conditioning the payment of the sales tax component of ACV for leased vehicle
   total loss claims on whether the insured paid in the past, at lease inception, 100% of sales tax that would be due over
   the life of the lease is not supported by the Policy terms or Florida law.

                                                             9
Case 0:16-cv-62942-WPD Document 247 Entered on FLSD Docket 06/14/2018 Page 10 of 11




    of replacement costs be paid as part of ACV, as well as violating the mandates of Mills and

    Bastian.

             Regarding damages, the third and final element of a breach of contract claim, Defendant

    contends that Plaintiff did not incur any damages, as she did not purchase the vehicle she totaled

    nor did she purchase her replacement vehicle. The Court disagrees. As noted by the Court,

    supra, nothing in the Policy requires a leased vehicle insured to replace their total loss vehicle

    with another leased vehicle, or even to replace her total loss with any vehicle at all. The damage

    to Plaintiff is the amount that she was underpaid by Defendant compared to the amount owed to

    her under the Policy. 7 Here, as to Plaintiff Roth, the amount of damages is $1,436.82 in sales tax

    and $75.25 in title transfer fees.

             IV.      CONCLUSION

             Sales tax and title transfer fees are mandatory parts of the replacement cost under the

    GEICO Policy for Plaintiff Roth’s (and the class members’) leased total loss vehicle and

    therefore are components of “actual cash value” under the Policy. Accordingly, GEICO’s failure

    to pay leased vehicle total loss insureds sale tax in the amount of 6% of the value of the vehicle

    (plus any local taxes) and title transfer fees in the amount of $75.25 constitutes a breach of

    contract.

             For the foregoing reasons, it is ORDERED AND ADJUDGED as follows:

             1.       Plaintiff Kerry Roth’s Motion for Summary Judgment [DE 152] is GRANTED;

             2.       Defendant GEICO General Insurance Company’s Motion for Summary Judgment

                      [DE 151] is DENIED;

    7
     While it is not necessary to the Court’s analysis of whether Plaintiff was damaged by the breach of contract, the
    Court notes that Plaintiff submitted record evidence that she paid sales tax and title transfer fees on the replacement
    of her total loss leased vehicle.
                                                              10
Case 0:16-cv-62942-WPD Document 247 Entered on FLSD Docket 06/14/2018 Page 11 of 11




           3.      Plaintiff Roth is entitled to damages in the amount of $1,436.82 in sales tax,

                   which is 6% of the value of Plaintiff’s total loss vehicle; and the amount of $75.25

                   in title transfer fees, which is the minimum amount of title transfer fees that are

                   due on the purchase of a replacement vehicle.

           4.      Class members are entitled to damages in the amount of 6% of the value of

                   Plaintiff’s total loss vehicle (plus any applicable local taxes); and the amount of

                   $75.25 in title transfer fees.

           5.      Within sixty (60) days from the expiration of the July 2, 2018 deadline to opt out

                   of the class, the parties shall jointly submit a proposed final judgment to the

                   Court.

           6.      The July 13, 2018 calendar call is CANCELLED.

           DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

    this 13th day of June, 2018.




    Copies provided to:

    Counsel of record




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